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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                  )
   QORVO, INC.,                                   )
                                                  )
         Plaintiff,                               )
                                                  )
                 v.                               )
                                                  )           C.A. No. 21-1417-RGA
   AKOUSTIS TECHNOLOGIES, INC. and                )
   AKOUSTIS, INC.,                                )
                                                  )
         Defendants.                              )

                             STIPULATION TO EXTEND TIME

       IT IS HEREBY STIPULATED AND AGREED between Plaintiff Qorvo, Inc. and

Defendants Akoustis Technologies, Inc. and Akoustis, Inc. (collectively, “Akoustis”), subject to the

approval of the Court, that the deadline for Akoustis to respond to the Complaint in this matter is

hereby extended until November 29, 2021.

MORRIS, NICHOLS, ARSHT & TUNNELL LLP                   BAYARD, P.A.

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Dated: October 21, 2021

       IT IS SO ORDERED this _____ day of _________________, 2021.


                                                      ____________________________________
                                                      UNITED STATES DISTRICT JUDGE
